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 1   David B. Rosenbaum, 009819
     Travis C. Hunt, 035491
 2   BriAnne N. Illich Meeds, 036094
     OSBORN MALEDON, P.A.
 3   2929 North Central Avenue, 21st Floor
     Phoenix, Arizona 85012-2793
 4   (602) 640-9000
     drosenbaum@omlaw.com
 5   thunt@omlaw.com
     billichmeeds@omlaw.com
 6
     (Additional Counsel for Plaintiffs Listed on the Following Page)
 7
 8
 9
10                     IN THE UNITED STATES DISTRICT COURT

11                           FOR THE DISTRICT OF ARIZONA
12   C.M., on her own behalf and on behalf of     No. 2:19-cv-05217-SRB
13   her minor child, B.M.; L.G., on her own
     behalf and on behalf of her minor child,     NOTICE OF DEPOSITION OF
14   B.G.; M.R., on her own behalf and on         KRISTIAN BRANNON, ORR
15   behalf of her minor child, J.R.; O.A., on    FIELD SPECIALIST, NY
     her own behalf and on behalf of her
16   minor child, L.A.; and V.C., on her own
     behalf and on behalf of her minor child,
17   G.A.,
18
                         Plaintiffs,
19
     v.
20
     United States of America,
21
22                       Defendant.
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26
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      Case 2:19-cv-05217-SRB Document 150 Filed 03/24/22 Page 2 of 3



 1
 2   Diana Reiter*                            Jonathan H. Feinberg*
     Erik Walsh*                              Kairys, Rudovsky, Messing, Feinberg
 3   Lucy McMillan*                             & Lin LLP
     Kathryn Campbell**                       The Cast Iron Building
 4   Kaitlyn Schaeffer*                       718 Arch Street, Suite 501 South
 5   Arnold & Porter Kaye Scholer LLP         Philadelphia, PA 19106
     250 West 55th Street |                   215-925-4400
 6   New York, New York 10019-9710            jfeinberg@krlawphila.com
 7   212-836-8000
     diana.reiter@arnoldporter.com            Mark Fleming*
 8   erik.walsh@arnoldporter.com              Katherine Melloy Goettel*
     lucy.mcmillan@arnoldporter.com           National Immigrant Justice Center
 9   katie.campbell@arnoldporter.com          224 S. Michigan Ave., Suite 600
10   kaitlyn.schaeffer@arnoldporter.com       Chicago, IL 60604
                                              312-660-1370
11   R. Stanton Jones*                        mfleming@heartlandalliance.org
12   Daniel F. Jacobson*                      kgoettel@heartlandalliance.org
     Emily Reeder*
13   Arnold & Porter Kaye Scholer LLP         Trina Realmuto*
     601 Massachusetts Avenue, NW             Emma Winger*
14   Washington, DC 20001                     American Immigration Council
15   202-942-5000                             1318 Beacon Street, Suite 18
     stanton.jones@arnoldporter.com           Brookline, MA 02446
16   daniel.jacobson@arnoldporter.com         857-305-3600
     emily.reeder@arnoldporter.com            trealmuto@immcouncil.org
17
                                              ewinger@immcouncil.org
18
                                              Mary Kenney*
19                                            Claudia Valenzuela*
20                                            American Immigration Council
                                              1331 G Street NW, Suite 200
21                                            Washington, DC 20005
                                              202-507-7512
22
                                              202-742-5619
23                                            mkenney@immcouncil.org
                                              cvalenzuela@immcouncil.org
24
25
     *Admitted pro hac vice
26   **Pro hac vice application forthcoming
27
28
      Case 2:19-cv-05217-SRB Document 150 Filed 03/24/22 Page 3 of 3



 1             Pursuant to Federal Rules of Civil Procedure 26 and 30, Plaintiffs, by and
 2   through undersigned counsel, hereby give notice of the following deposition before an
 3   officer authorized by law to administer oaths:
 4
               DEPONENT:                         Kristian Brannon
 5
               PLACE OF DEPOSITION:              Remote video deposition
 6
               DATE OF DEPOSITION:               April 15, 2022 at 10:00 a.m. EST
 7
               The deposition will be taken remotely through Zoom video conference
 8
     technology before an officer authorized by law to administer oaths. The deposition
 9
     shall be recorded by audiovisual and stenographic means.
10
11             RESPECTFULLY SUBMITTED this 24th day of March, 2022.
12                                               /s/ David B. Rosenbaum
                                                 David B. Rosenbaum
13                                               Travis C. Hunt
                                                 BriAnne N. Illich Meeds
14                                               OSBORN MALEDON, P.A.
                                                 2929 North Central Avenue,
15                                               21st Floor
                                                 Phoenix, Arizona 85012-2793
16
17                                            Attorneys for Plaintiffs
18
19
20
21
22
23
24
25
26
27
28
     9386673
